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                                                      UNITED STATES DISTRICT COURT
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                                                    CENTRAL DISTRICT OF CALIFORNIA
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                                                                  WESTERN DIVISION
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                              OX LABS, INC.,                               Case No. 2:18-cv-05934-MWF-KS
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                                                     Plaintiff,            DEFENDANT BITPAY, INC.’S
                                                                           OBJECTIONS TO
                        22    vs.                                          PLAINTIFF OX LABS, INC.’S
                        23    BITPAY, INC. and Does 1-10,                  PROPOSED JURY VERDICT
                                                                           FORM
                        24                           Defendants.
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                              OBJECTIONS TO PROPOSED JURY VERDICT FORM                    Case No. 2:18-cv-05934-MWF-KS
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                         1           Pursuant to the Court’s Order re: Jury Trial (D.I. 22), Defendant BitPay, Inc.
                         2    provides the following objections to Plaintiff Ox Labs, Inc.’s Proposed Jury
                         3    Verdict Form.
                         4
                               Ox Labs’ Proposed Jury Verdict            BitPay’s Objection(s)
                         5     Form Question No.
                               1. Did Ox Labs own or have the            BitPay objects to this question because
                         6     right to possess 200 Bitcoins?            there is no evidence in the first place that
                                                                         BitPay possessed the erroneously credited
                         7                                               bitcoin.
                         8     2. Did BitPay substantially               BitPay objects to this question because it
                               interfere with Ox Labs’ 200               did not cause the error, there is no evidence
                         9     Bitcoins by knowingly or                  that it knew of the error before it
                               intentionally selling them or             discovered it in 2017 and disclosed to Ox
                        10     refusing to return them after Ox          Labs, and there is no evidence that BitPay
                               Labs demanded their return?               possessed the bitcoin for purpose of
                        11                                               theoretically interfering with a return.
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                        12     3. Did Ox Labs consent?                   BitPay objects to this question as vague,
                                                                         ambiguous, and irrelevant.
                        13
                               4. Was Ox Labs harmed?                    BitPay objects to this question as vague
                        14                                               and ambiguous, and omitting the facts that
                                                                         BitPay did not possess the bitcoins, the
                        15                                               error was by Ox Labs, and there is no
                                                                         evidence, as admitted by Ox Labs, that Ox
                        16                                               Labs would still have the bitcoins
                                                                         regardless for purposes of measuring harm.
                        17
                        18     5. Was BitPay’s conduct a                 BitPay objects to this question because it
                               substantial factor in causing Ox          omits the fact that the error was by Ox
                        19     Labs’s harm?                              Labs and there is no evidence that BitPay
                                                                         was at fault in any way.
                        20     6. Was it reasonably foreseeable to       BitPay objects to this question because it
                        21     a prudent person, having regard for       omits the fact that the error was by Ox
                               the accompanying circumstances,           Labs and there is no evidence that BitPay
                        22     that injury or damage beyond the          was at fault in any way. There is also no
                               fair market value at the time of the      evidence, as admitted by Ox Labs, that Ox
                        23     conversion would result from              Labs would still have the bitcoins
                               BitPay’s acts?                            regardless for purposes of measuring harm.
                        24     7. What special damages should be         BitPay objects to the wording of this
                        25     awarded to Ox Labs?                       question, which should merely ask what
                                                                         damages if any should be awarded to Ox
                        26                                               Labs.

                        27     8. What was the fair market value         BitPay objects to the use of the term
                               of Ox Labs’ 200 Bitcoins at the           “conversion”, which presumes
                        28     time of the conversion?                   wrongdoing. BitPay is agreeable to a
                              OBJECTIONS TO PROPOSED JURY VERDICT FORM      1                    Case No. 2:18-cv-05934-MWF-KS
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                               Ox Labs’ Proposed Jury Verdict            BitPay’s Objection(s)
                         1     Form Question No.
                                                                         question of the fair market value of the 200
                         2                                               bitcoins at the time of Ox Labs’ error.
                         3     9. On what date was Ox Labs               BitPay objects to the question as vague and
                               harmed?                                   ambiguous, and ignoring whether the harm
                         4                                               was by BitPay or Ox Labs itself.
                         5     10. Prejudgment interest owed at          BitPay objects to the question because the
                               rate of 10% per annum from the            only appropriate question is whether
                         6     date in the answer to question 8:         interest should be awarded. The percent
                                                                         quoted is not correct and is a question for
                         7                                               the court nonetheless.
                         8     11. Would it be unjust for BitPay to BitPay objects to this question because
                               retain the 200 Bitcoins that it      there is no evidence that BitPay received or
                         9     received from Ox Labs?               retained the bitcoins at issue in the first
                                                                    place. Indeed, Ox Labs has admitted that it
                        10                                          cannot prove otherwise.
                        11     12. Should BitPay return 200              BitPay objects to this question because
                               Bitcoins to Ox Labs?                      there is no evidence that BitPay received or
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                        12                                               retained the bitcoins at issue in the first
                        13                                               place. Indeed, Ox Labs has admitted that it
                                                                         cannot prove otherwise.
                        14     13. Before July 6, 2015, did Ox           BitPay objects to this question because it is
                        15     Labs discover or know facts that          missing part of the standard: (i) whether
                               would have caused a reasonable            through reasonable diligence Ox Labs
                        16     person to suspect BitPay’s                should have discovered its error; or (ii)
                               wrongful acts?                            whether Ox Labs’ is excused from
                        17                                               discovery of the error caused by its own
                                                                         admitted fault.
                        18
                        19
                                     Respectfully submitted,
                        20
                        21    DATED: November 4, 2019                       RUSS, AUGUST & KABAT
                                                                            Benjamin T. Wang
                        22                                                  James S. Tsuei

                        23                                                  By: /s/ Benjamin T. Wang

                        24                                                       Attorney for Defendant
                                                                                 BitPay, Inc.
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                              OBJECTIONS TO PROPOSED JURY VERDICT FORM     2                     Case No. 2:18-cv-05934-MWF-KS
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                         1                               CERTIFICATE OF SERVICE
                         2           I hereby certify pursuant to the Federal Rules of Civil Procedure and LR 5-3
                         3    and 5-4 that the foregoing DEFENDANT BITPAY, INC.’S OBJECTIONS TO
                         4    PLAINTIFF OX LABS, INC.’S PROPOSED JURY VERDICT FORM was
                         5    served upon the attorney(s) of record for each party through the ECF system as
                         6    identified on the Notice of Electronic Filing on November 4, 2019.
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                        10                                               By:     /s/ Benjamin T. Wang
                        11                                                     Benjamin T. Wang
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                              OBJECTIONS TO PROPOSED JURY VERDICT FORM          3                 Case No. 2:18-cv-05934-MWF-KS
